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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DFVISION

                                          )
GEORGIA COLLEGE OF EMERGENCY )
PHYSICIANS,^ aL, )
                                          )
                       Plaintiffs, )
                                          )
             v. ) No. l:21-cv-05267-MHC
                                          )
U.S. DEPARTMENT OF HEALTH AND )
HUMAN SERVICES, et al., )
                                          )
                       Defendants. )




              ORDER GRANTING JOINT MOTION FOR STAY


      It is hereby ORDERED that the Joint Motion for a sbdy-day stay is hereby

GRANTED; this case, along with any and all associated deadlines, is now stayed

for sbcty (60) days.


                IT IS SO ORDERED, this ^_ day of March, 2022.




                                    THE HONORABLE MARK H. COHEN
                                    U. S.D. C. Northern District of Georgia Judge
